200St.Paul Place ame
Baltimore, MD, 2120 OA. €
Phone, 4435248100 CaS® 1:24-cv-02162-¥

THE DAILY REC

cy age 1 of 2

Affidavit of Publication

To: Gregory R. Singer -
7076 Bembe Beach Rd, Suite 201 mailbox 6
Annapolis, MD, 21403

Re: Legal Notice 2640793,

Todd Fielding Britton-Harr v. M/V Casino Royale
Lee
By ot \

i

A
: {
|
|

Joy Hough
Authorized Designee of the Pubjisher

We hereby certify that the annexed advertisement was
published in Maryland The Daily Record, a Daily newspaper
published

in the State of Maryland 1 time(s} on the following date(s):
08/19/2024

NOTICE OF ARREST AND SEIZURE
USTFED STATES DISTRICT COURT
DISTRICT OF MARYLAND

‘Radd Fielding Gritton-Hare

¥
MAY Casino Rovake
Case No, 2b CVO 162-SaG

On July 39, 2024 the Motor Yachr "Casino Royale", One 2004 Sunsecker 22',
Malta Official No. 10536, was arested by ihe United States Marshals Series,
Disizict: of Maryland, pursuant.io a Warrant of Amest issued by the Clerle of the
Court uparn ihe filing of a Verified Complaint in the above action. Any person
207 LINE ah ownership interest in the praperty ar a right of possession pursuant
io Supplemental Rule (46) must file a statement of such interest with the Clerk
and serve it. on the attorney for the plaintiffs within fourteen (Mj days after
publication, Ant aiswer to the cariplatint arast ie Giel anck served wilhin bwenty-
one (21) days after the. fling of the statement of interest, olherwise default. may
be eetored and condemnation ordered. Motions to Intervene under Federal Rule
24 hy persuns chiming maritime liens or other interests and claims fur expenses
of administration shall be Sled within a time fixed by the Coun. Enited Sistes
Marshal Clinton 1 Fuels $2975 13. Coot Hone, 19 W, Lombard St. Raitimore
BUD 23201, (410) 962-2220) Substitute Custodian: Pier Pressure, LLG, 130 Admiral
Cochrane Dr, Suite 200, Annapolis, MD 22402, GEO) 648-5122. PlainciiPs Arorney:
Todd D. Lantaer, Bar Ne, 25601, Lochner Law Fira, RC. 7076 Bembe Beach
Read, Suite 261, Mailbox G, Annapolis, ALD 21a(KE (448) T1G-b,

aif 26470

Dana 1 af

MARYLAND

THE DAILY RECO

A Division of BridgeTower Media

P.O Box 745929
Atlania, GA 30374-5929

' BILLING ADDRESS

Gregory R.

Singer

7076 Bembe Beach Rd Suite 201 mailbox 6
Annapolis MD 21403

invoice #

Do a-cv-02162-SAG Document 1p eed /22/24

Payment Terms
Due Date

ADVERTISER

745719857

onlin

chner (aw Firm, Pe, ID:

PrePay
08/19/2024

Lochner Law Firm, Pe, ID: 56861
7076 Bembe Beach Rd Suite 201 mailbox 6

Annapolis MD 21403

1007385421

The Daily Record (BLT) - Public Notice

08/19/24

4:24-CV-02162-

Legal - Government 1

Legal - Government

Thank you for your business!

101D: 2640793
Index: Government
Category: Other

Affidavit Reference: Todd Fielding Britten-Harr v. M/V Casino Royale

SAG
Subtotal $170.68
Tax $0.00
Credits $170.68
BALANCE CUE $0.00

ee SO a a SSS SY SS gs ms nn GE SS SS a mb emt OH he

REMITTANCE STUB TO EridgeTower Media

Bank: Bank of America

Send AGH remittance email to
ar@pbridgetowermedia.com
Account Number: 237025443017
Routing: 053000156

Piease include invoice number on check
BridgeTower OpCo, LLC

P.O Box 745929

Atlanta, GA 30374-5929

Use the Cilck to Pay Online fink located
on the email you received or Contact
Accounts Receivable: 866-802-8214
Please have your Invoice Number

and Credit Card Number Ready

Involee # Teg 2887 The Dally Record (BLT)~ Public | hate [os/te/2024 | Customer ID_|ID: 56861, Lochner Law Firm, Pe
Amount Enclosed:
Acceptable Payment Methods

PREFERRED METHOD OTHER METHODS

To Pay by ACH Transfer: To Pay by Check use the following address: To Pay by Credit Card: To Pay by Wire Transfer;

Name: BridgeTower OpCo, LLC
Bank: Bank of America

Swift Code: BOFAUS3N

Bank Address: 100 North Tryon Street
Charlotte, NC 28255

Account Number: 237025443017
Routing: 053000196

